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MINUTE ENTRY
AFRICK, J.
April 11, 2002
JS-10 00:25

                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                       CRIMINAL ACTION

VERSUS                                                                     No. 20-55

JASON WILLIAMS, ET AL.                                                   SECTION I


UNITED STATES OF AMERICA                                       CRIMINAL ACTION

VERSUS                                                                    No. 20-139

NICOLE BURDETT                                                           SECTION I


                                      ORDER

      On April 11, 2022, the Court held an in-person status conference with the

following counsel in attendance: Kelly Uebinger, David Ayo, Jessica Cassidy, and

Alexander Van Hook for the United States; William Gibbens and Lisa Wayne

(retained) for Defendant Jason Williams; and Michael Magner and Avery Pardee

(CJA-Appointment) for Nicole Burdett. The conference was scheduled to schedule a

trial date and to address the status of the case since reallotment from Section F and

since the Fifth Circuit’s judgment issued as mandate affirming Judge Feldman’s

evidentiary ruling challenged by the government in its interlocutory appeal.

      The Court selected jury trial and pretrial conference dates. Counsel agreed

that the juror questionnaires previously completed last year for the January 2022

trial date (disturbed by the government’s appeal) are now stale. To provide sufficient
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time for a new venire to complete new questionnaires and to accommodate the Court’s

and all counsel’s schedules, the trial shall commence on July 18, 2022 at 8:30 a.m.

with jury selection. A pretrial conference shall be held on June 1, 2022 at 11:00 a.m.

      The Court ordered that counsel shall jointly submit a revised juror

questionnaire and a revised scheduling order; counsel shall submit both no later than

10 days from the date of the status conference, that is, not later than Thursday,

April 21, 2022.

      The Court discussed with counsel the government’s recently filed motion in

limine to exclude the defense expert, Harold Asher. Defense counsel agreed to submit

a revised expert report within two weeks, or not later than April 25, 2022.

      The Court discussed with all counsel the defendants’ motion to compel pretrial

interview notes. The government agreed to provide a response to the defendants

concerning whether Henry Timothy in pretrial interviews made or makes statements

consistent with his post-cooperation narrative. Accordingly, the defendants’ motion

to compel is dismissed without prejudice.

      Counsel for Nicole Burdett indicated that a motion requesting a Rule 17(c)

subpoena would be filed in short order on an expedited basis.

      The Court next ordered defense counsel to advise the Court and the

government, not later than Monday, May 2, 2022, as to which comparators

defendants would seek to use at trial.

        The delay resulting from the government’s interlocutory appeal is

excludable, 18 U.S.C. § 3161(h)(1)(C), and the Court, with the agreement of counsel,

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finds that the ends of justice served by continuing the trial outweigh the best interest

of the public and the defendants in a speedy trial. The Court specifically considers

the fact that new jury questionnaires need to be distributed and executed, and that

additional time is needed by counsel for case preparation and to accommodate their

trial schedules.

      IT IS ORDERED that the pretrial conference is hereby reset for June 1, 2022

at 11:00 a.m. and the jury trial shall commence on July 18, 2022 at 8:30 a.m.

      IT IS FURTHER ORDERED that counsel jointly shall submit a revised juror

questionnaire and revised scheduling order not later than Thursday, April 21, 2022.

      IT IS FURTHER ORDERED that the defendants shall submit a revised

expert report to the government not later than Monday, April 25, 2022.

      IT IS FURTHER ORDERED that the government’s motion in limine to

exclude defense expert is hereby DISMISSED WITHOUT PREJUDICE.

      IT IS FURTHER ORDERED that the defendants’ motion to compel is

DISMISSED AS MOOT; and

      IT IS FURTHER ORDERED that defense counsel shall advise the Court and

the government, not later than Monday, May 2, 2022, as to which comparators

defendants will seek to use at trial.



                                           _______________________________________
                                                     LANCE M. AFRICK
                                           UNITED STATES DISTRICT JUDGE



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